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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE                      :
ELLEN BARTELS AND FREDERICK L.                        :
BARTELS, JR., Individually and as                     :
Administrators of the Estate of Abrielle Kira         : C.A. NO.:
Bartels, Deceased,                                    : 1:16-cv-02145-CCC
                                       Plaintiffs,    :
                        vs.                           : (CONNER, C.J.)
                                                      :
THE MILTON HERSHEY SCHOOL,                            :
                                                      :
and                                                   :
                                                      :
THE HERSHEY TRUST COMPANY, AS                         :
TRUSTEE OF THE MILTON HERSHEY                         :
SCHOOL TRUST,                                         :
                         Defendants.                  :
                                                      :

                                      ORDER

       Now, this ____ day of ___________________, 2017, upon consideration of

the Joint Motion to extend the deadlines set forth in the Court’s November 23,

2016, Case Management Order, (Dkt. 41), jointly filed by Plaintiffs, Julie Ellen

Wartluft f/n/a Frederick L. Bartels, Jr., Individually and as Administrators of the

Estate of Kira Abrielle Bartels, Deceased (together, “Plaintiffs”), and Defendants

Milton Hershey School and Hershey Trust Company, it is HEREBY ORDERED

that the Joint Motion is GRANTED as follows:

       1.    The Court’s November 23, 2016, Case Management Order, (Dkt. 41),

is vacated; and
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      2.     The Court shall issue a new Case Management Order extending all

deadlines by forty-five days.




                                           _____________________________
                                           Christopher C. Conner, Chief Judge
                                           United States District Court
                                           Middle District of Pennsylvania




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                 IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE                        :
ELLEN BARTELS AND FREDERICK L.                          :
BARTELS, JR., Individually and as                       :
Administrators of the Estate of Abrielle Kira           : C.A. NO.:
Bartels, Deceased,                                      : 1:16-cv-02145-CCC
                                       Plaintiffs,      :
                        vs.                             : (CONNER, C.J.)
                                                        :
THE MILTON HERSHEY SCHOOL,                              :
                                                        :
and                                                     :
                                                        :
THE HERSHEY TRUST COMPANY, AS                           :
TRUSTEE OF THE MILTON HERSHEY                           :
SCHOOL TRUST,                                           :
                         Defendants.                    :
                                                        :

                JOINT MOTION TO EXTEND THE COURT’S
                      CASE MANAGEMENT ORDER

       Defendants Milton Hershey School, and Hershey Trust Company, as trustee

of the Milton Hershey School, (identified in the caption and Amended Complaint

as the “Hershey Trust Company, as Trustee of the Milton Hershey School Trust”),

and Plaintiffs, Julie Ellen Wartluft f/n/a Frederick L. Bartels, Jr., Individually and

as Administrators of the Estate of Kira Abrielle Bartels, Deceased (together,

“Plaintiffs”), jointly move to extend the deadlines set forth in this Court’s

November 23, 2016, Case Management Order, (Dkt. 41), pursuant to Federal Rules

of Civil Procedure 6(b) and 16(b)(4). The parties incorporate by reference the
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accompanying memorandum of law as though set forth in full herein, and all

parties concur with this Motion.



Respectfully submitted,


/s Gregory F. Cirillo                 /s Jarad W. Handelman
Gregory F. Cirillo, Esquire           Jarad W. Handelman, Esquire
(PA 46878)                            (PA 82629)
John J. Higson, Esquire               Kyle M. Elliott, Esquire
(PA 80720)                            (PA 306836)
Dilworth Paxson LLP                   Elliott Greenleaf, P.C.
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                                      jwh@elliottgreenleaf.com
                                      kme@elliottgreenleaf.com
                                      Counsel for Defendants

Dated: April 6, 2017




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                 IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE                        :
ELLEN BARTELS AND FREDERICK L.                          :
BARTELS, JR., Individually and as                       :
Administrators of the Estate of Abrielle Kira           : C.A. NO.:
Bartels, Deceased,                                      : 1:16-cv-02145-CCC
                                       Plaintiffs,      :
                        vs.                             : (CONNER, C.J.)
                                                        :
THE MILTON HERSHEY SCHOOL,                              :
                                                        :
and                                                     :
                                                        :
THE HERSHEY TRUST COMPANY, AS                           :
TRUSTEE OF THE MILTON HERSHEY                           :
SCHOOL TRUST,                                           :
                         Defendants.                    :
                                                        :

  MEMORANDUM OF LAW IN SUPPORT OF THE PARTIES’ JOINT
 MOTION TO EXTEND THE COURT’S CASE MANAGEMENT ORDER

       Defendants Milton Hershey School, and Hershey Trust Company, as trustee

of the Milton Hershey School, (identified in the caption and Amended Complaint

as the “Hershey Trust Company, as Trustee of the Milton Hershey School Trust”),

and Plaintiffs, Julie Ellen Wartluft f/n/a Frederick L. Bartels, Jr., Individually and

as Administrators of the Estate of Kira Abrielle Bartels, Deceased (“AB”), jointly

move to extend the deadlines set forth in this Court’s November 23, 2016, Case

Management Order, (Dkt. 41), pursuant to Federal Rules of Civil Procedure 6(b)

and 16(b)(4).
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I.      BACKGROUND

        Following the filing of the Complaint in this action, on or about September

27, 2016, this case was transferred from the United States District Court for the

Eastern District of Pennsylvania to this judicial district. (Dkts. 18-19.) On

October 28, 2016, Plaintiffs filed an Amended Complaint against Defendants

bringing claims based on: the Fair Housing Act, 42 U.S.C. § 3602, et seq. (“FHA”)

(Count I); negligence (Count III); wrongful death (Count V); survival act (Count

VI); negligent misrepresentation (Count VII); intentional misrepresentation (Count

VIII); intentional infliction of emotional distress (Count IX); negligent infliction of

emotional distress (Count X); civil conspiracy (Count XI); breach of fiduciary duty

(Count XII); and negligence per se (Count XIII).1 (Dkt. 29.) On November 14,

2016, Defendants moved to dismiss the Amended Complaint for failure to state a

claim under Rule 12(b)(6) of the Federal Rules of Civil Procedure. (Dkts. 31-32.)

The motion to dismiss is currently pending before this Court.

        On November 23, 2016, the Court entered a Case Management Order

setting, inter alia, the following deadlines:

      Fact discovery completed by May 16, 2017;

      Dispositive motions filed by June 16, 2017; and


        1
     Counts II, and IV from the original Complaint were omitted from the
Amended Complaint. See (Dkt. 1.)

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       July selection/trial date on November 6, 2017.

(Dkt. 41.)

         Thereafter, on January 5, 2017, undersigned defense counsel entered their

appearances on behalf of Defendants, (Dkts. 44-45), and prior counsel withdrew

their appearances.

         The parties have diligently conducted written and oral discovery in this

action. Defendants have produced approximately 2,100 pages of documents, and

Plaintiffs have likewise produced approximately 600 pages of materials.

Supplemental written discovery is ongoing.

         The parties have also conducted six oral or videotaped depositions, with

Plaintiffs deposing four of Defendants witnesses, and Defendants deposing

Plaintiff Fred Bartels, and Karen Fitzpatrick. Plaintiffs and Defendants, in good

faith, continue to schedule additional depositions of individuals under the control

of Defendants, Plaintiff Julie Wartluft, and various third-parties, including

Plaintiffs’ children.

II.      ARGUMENT

         Pursuant to Rule 16(b)(4), a pretrial scheduling order “may be modified only

for good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). Rule

16(b)’s “good cause” standard “focuses on the moving party’s burden to show due

diligence.” Race Tires Am., Inc. v. Hoosier Racing Tire Corp., 614 F.3d 57, 84 (3d

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Cir. 2010). Here, for the following reasons, the parties have demonstrated due

diligence, and the deadlines set forth in the Court’s Case Management Order, (Dkt.

41), should be extended by forty-five days.

      First, Plaintiffs filed a complex action advancing multiple theories of

liability based upon, inter alia, the FHA. According to the Amended Complaint,

Defendants discriminated against AB based upon a purported mental health

disability. In order to adequately investigation Plaintiffs’ claims and Defendants’

defenses, the parties intend to conduct numerous additional depositions as outlined

in their Joint Case Management Plan. (Dkt. 35.) Plaintiffs intend to depose

additional medical and mental health professionals associated with Defendants

who provided treatment to AB, as well as other representatives, employees or

agents of Defendants. Similarly, Defendants anticipate deposing Plaintiff Julie

Wartluft, AB’s family members, third-party medical providers unaffiliated with

Defendants, and other third-parties. The parties are amicably working to

scheduling these important discovery depositions.

      Second, in light of the causes of action asserted by Plaintiffs and the

allegations of mental health disabilities, Defendants have subpoenaed, and are

going to subpoena third-party medical providers who have provided medical and

mental health treatment to AB. Plaintiffs also may issue third-party document

subpoenas or deposition subpoenas. Typically, third-party medical providers

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refuse to comply with subpoenas for these types of records without a Court order

(based on the Health Insurance Portability and Accountability Act of 1996, and

similar state laws, like the Pennsylvania Mental Health Procedures Act), and

Defendants may need to request the Court’s intervention to promptly secure these

highly relevant documents.

        Third, undersigned counsel are the same counsel in Dobson v. Milton

Hershey School, et al., 1:16-CV-1958-CCC (M.D. Pa.), which is also assigned to

this Court. The Dobson matter involves complex theories of liability and causes of

action. The parties are coordinating discovery in that complex litigation as well.

        Fourth, the parties are filing this Motion jointly, and the discovery deadline

has not expired. Thus, the parties respectfully request that all Case Management

Order deadlines be extended for forty-five days.

III.    CONCLUSION

        For the foregoing reasons, and for good cause shown, the parties jointly

request that the Court enter an Order extending all case management deadlines by

forty-five days.




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Respectfully submitted,

/s Gregory F. Cirillo               /s Jarad W. Handelman
Gregory F. Cirillo, Esquire         Jarad W. Handelman, Esquire
(PA 46878)                          (PA 82629)
John J. Higson, Esquire             Kyle M. Elliott, Esquire
(PA 80720)                          (PA 306836)
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                                    Counsel for Defendants
Dated: April 6, 2017




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                   CERTIFICATION OF CONCURRENCE

      Pursuant to Local Civil Rule 7.1, as this Motion is filed jointly, all counsel

concur with the Motion.

Respectfully submitted,


/s Gregory F. Cirillo                   /s Jarad W. Handelman
Gregory F. Cirillo, Esquire             Jarad W. Handelman, Esquire
(PA 46878)                              (PA 82629)
John J. Higson, Esquire                 Kyle M. Elliott, Esquire
(PA 80720)                              (PA 306836)
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                                        Counsel for Defendants

Dated: April 6, 2017
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                         CERTIFICATE OF SERVICE
      I, Kyle M. Elliott, Esquire, hereby certify that I caused the foregoing Joint

Motion to Extend the Court’s Case Management Order to be filed electronically

with the Court, where it is available for viewing and downloading from the Court’s

ECF system, and that such electronic filing automatically generates a Notice of

Electronic Filing constituting service of the filed document upon all counsel of

record, including:

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John J. Higson, Esquire
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Counsel for Plaintiffs

                                              /s Kyle M. Elliott
                                              Kyle M. Elliott, Esquire
Dated: April 6, 2017
